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E-FILED on: ___8/24/07

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

SAN JOSE DIVISION

VERIGY US, INC, a Delaware Corporation
Plaintiff,
V.

ROMI OMAR MAYDER, an individual;
WESLEY MAYDER, an individual; SILICON
TEST SYSTEMS, INC., a California Corporation;
and SILICON TEST SOLUTIONS, LLC, a
California Limited Liability Corporation,
inclusive,

Defendants.

 

 

Case No. C07-04330 RMW (HRL)

ORDER GRANTING PLAINTIFF VERIGY
US, INC.’S APPLICATION FOR
TEMPORARY RESTRAINING ORDER
AND ORDER AUTHORIZING EXPEDITED
DISCOVERY; ORDER TO SHOW CAUSE
RE: PRELIMINARY INJUNCTION
(Redacted Version)

[CONFIDENTIAL—FILED UNDER
SEAL]

I. BACKGROUND

Plaintiff Verigy US, Inc., (“Verigy”) filed an ex parte application for restraining order,

order to show cause relating to preliminary injunction, and order for certain expedited discovery

against defendants Romi Omar Mayder (“Mayder”), Wesley Mayder, Silicon Test Systems, Inc.

and Silicon Test Solutions, LLC. Verigy is engaged in the business of designing, developing,

manufacturing, and selling advanced test systems and solutions for the semiconductor industry.

Decl. of Ira Leventhal Supp. Appl. TRO (“Leventhal Decl.”) 9 3. Verigy is a spin-off from

Agilent Technologies, Inc., which in turn was a spin-off of Hewlett Packard. /d. Beginning in

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June 1998, Mayder worked as an engineer at Agilent (and its predecessor-in-interest, HP) in the
area of research and development of new products for testing of memory chips. /d. § 2. After the
Verigy spin-off, Mayder worked as an engineer in a similar capacity for Verigy from June 1, 2006
to September 22, 2006. /d. He was responsible for several research and development projects for
the creation of new products for silicon chip testing systems. Jd. § 6. In working on these projects
he had access to, inter alia, confidential information regarding projects being developed by Verigy
as well as information regarding the identity of and Verigy’s business relationships with third
parties, including past, present, and potential component suppliers and customers. /d.

All Verigy employees, consultants, and contractors are required to sign an Agreement
Regarding Confidential Information and Proprietary Developments (““ARCIPD”). /d. 7. Mayder
signed an ARCIPD with Verigy. Decl. of Manuel Guerzoni Supp. Appl. TRO (“Guerzoni Decl.”’)
44. Customers, vendors, and suppliers are required to sign a non-disclosure agreement. Jd.
Verigy restricts access to its office and routinely marks confidential documents as such. In
addition, Verigy maintains its technical documents, such as project data sheets and customer
requirements on restricted-access computer systems. /d. Agilent similarly protected the
confidentiality of its confidential and proprietary information. /d.

In 2006 Mayder worked on Verigy’s ha project, which involved development of new
technology that would greatly increase the parallelism of the system. /d. § 8. While working on
this project, Mayder was privy to Verigy’s confidential business plans and strategy regarding
EE, potential manufacturers and suppliers, materials and implementations, and

customer requirements. Jd. Mayder also worked as the technical RFQ lead and the memory test

systems hardware design engineer for the Pee vee project and related Beebe
project, which were part of the [J project. Id. 49. aime aac ase lah et a ad
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Current work in this area by Verigy includes the eer ae which is currently in
fabrication. Jd. § 16. As part of his work for Verigy, Mayder wrote a document entitled

2. Because few manufacturers will manufacture such devices, it is expensive
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to do so. Jd. §§ 12-15. Thus, information on costs, materials, specifications of the product,
consideration of alternate implementation strategies, placement of the device, and selection of
manufacturer are valuable confidential and proprietary information. Jd. Mayder had access to this
confidential information through his work at Verigy. In addition, he had access to confidential
information regarding Verigy’s business relationships with third parties, including its past,
present, and prospective component suppliers and customers, and confidential and proprietary
information compiled from third-party customers and shared with Verigy pursuant to non-
disclosure agreements. /d.

In June 2006, while Mayder was still employed at Verigy, the domain name
“silicontests.com” was registered with Mayder listed as the administrator. Decl. of Melinda
Morton Supp. Appl. TRO (“Morton Decl.”) § 3; Ex. A. At that time Mayder also approached
Robert Pochowski, a former Agilent vice president, for potential investment in a new venture
Mayder was starting called “Silicon Test Systems.” Decl. of Robert Pochowski Supp. Appl. TRO
(“Pochowski Decl.”) 4. Mayder disclosed his idea of a new way to test systems without seeking

a non-disclosure agreement from Pochowski. /d. §§ 5-6. He also sent Pochowski an RFQ for

. 2 document called EE ang a document called

Seance ioR SiN Id. §§ 7, 9. Mayder requested Pochowski to send these documents to
GE. fa. Pochowski did not do so. Jd. Mayder also met with and shared these documents

with potential clients, including Verigy clients. Jd. 16. The properties window for all of these
documents indicate that they were in fact Agilent documents. /d. § 18. The original document
title of one document was EE which was a document Mayder wrote for
Verigy while employed there. Jd. 4 19. The other documents were authored by Andy Lee and
Hanh Lai of Agilent. Jd. § 20. On August 27, 2006, Mayder sent to Pochowski via email a draft
patent application allegedly containing Verigy trade secrets. /d. § 13. This document was still
marked with the identification designating the Verigy division Mayder worked in. /d., Ex. F.

In early July 2007, following Mayder’s resignation from Verigy, Verigy was informed that

Mayder was marketing a product that seemed similar to Verigy’s products. Leventhal Decl. § 25.
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Verigy’s counsel contacted Mayder on July 6 and 9, 2007 to remind Mayder of his obligations
under the ARCIPD and to ask for assurances that he was in compliance with that agreement.
Morton Decl. § 8, Ex. E. In late July, Pochowski informed Verigy that he had been involved with
Mayder and Silicon Test Systems, Inc. and Silicon Test Solutions, LLC. Leventhal Decl. § 26.
On August 11 and 14, 2007, Pochowski provided certain documents and emails transmitted from
Mayder to Verigy and its counsel. Jd. 9. Based on those documents, Verigy’s counsel
determined that the documents transmitted to Pochowski were similar to Verigy documents that
Mayder had drafted or otherwise had access to. Compare e.g., Pochowski Decl., Ex. A with Decl.
of Andrew Lee Supp. Appl. TRO (“Lee Decl.”), Ex. A (document sent to Pochowski containing
the same typographical errors as Verigy document drafted by Mayder). Further investigation
revealed that during the time he was employed by Verigy, Mayder may have used Verigy’s
computers and its network to conduct business related to Silicon Test Systems, Inc. and Silicon
Test Solutions, LLC and that Mayder had started developing a competing product to the one
Mayder was working on at Verigy. /d. at 10. According to plaintiff, the products advertised on
the Silicon Test Systems website at www.silicontests.com appear to perform the same functions as
Verigy’s BM product designs and the EE currently in production.
Leventhal Decl. § 21.

Verigy’s counsel gave notice of Verigy’s motion for a temporary restraining order to
defendants by telephone on August 21, 2007. Morton Decl. §{§ 12-13. Copies of the complaint
and public-redacted version of the TRO papers were sent electronically to defendants on August
22, 2007.

Il. ORDER

This matter having come before the court on the ex parte application of plaintiff Verigy

US, Inc. for a Temporary Restraining Order, Order Authorizing Expedited Discovery, and Order to

Show Cause Re Preliminary Injunction;

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AND, the court having read the Complaint, the declarations of Robert Pochowski, Ira
Leventhal, Manuel Guerzoni, Ken Hanh Duc Lai, Andrew N. Lee, and Melinda M. Morton and the
memorandum of points and authorities submitted in support of the ex parte application;

AND, defendants having been given telephonic and electronic notice of plaintiff's
application for these orders;

AND, the court finding that, absent a temporary restraining order granted without further
notice, (1) plaintiff is likely to suffer irreparable harm including harm to its competitive position,
loss of future sales, disclosure of confidential business information, and loss of goodwill in the
marketplace, and (2) evidence may be lost or destroyed;

AND, good cause appearing;

IT IS HEREBY ORDERED THAT:

1. Defendants ROMI OMAR MAYDER (“Mayder”), WESLEY MAYDER, SILICON
TEST SYSTEMS, INC. and SILICON TEST SOLUTIONS, LLC (the “STS Entities”) as well as
their agents, servants, employees, attorneys, and any other persons in active concert or
participation with them who receive actual notice of this Temporary Restraining Order, by
personal service or otherwise, are hereby restrained and enjoined from directly or indirectly:

(a) accessing, altering, downloading, copying, forwarding, disclosing, using,
marketing, disseminating, selling, licensing, leasing, transferring, making any use
of, attempting to disclose or use, or disposing of, Verigy’s trade secrets and/or
confidential or proprietary information (which includes the confidential information
of Verigy’s predecessor, Agilent Technologies, Inc.), as identified in Exhibit A
attached hereto (the “Trade Secret Property”’);

(b) accessing, altering, downloading, copying, forwarding, disclosing, using,

marketing, disseminating, selling, licensing, leasing, transferring, making any use
of, attempting to disclose or use, or disposing of any product developed with the use

of, derived from, or incorporating all or any part of Verigy’s Trade Secret Property;

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(c) deleting, destroying, or altering, in whole or in part, any information (electronic,
documentary or otherwise) in any media (paper, hard drive, caches, CD-ROMS,
diskettes, USB memory devices, or any other media, digital or otherwise), relevant
to any of the issues in this action;

(d) deleting, destroying, or altering, in whole or in part, any information or electronic
mail to or from romi.mayder@yahoo.com; romi.mayder@silicontests.com;
bob.pochowski@silicontests.com; info@silicontests.com and wes@wedirect.com;
in any media (paper, hard drives, caches, CD-ROMS, diskettes, flash drives, back-
up drives, internet storage or any other media, digital or otherwise), relevant to any
of the issues of this action;

(e) soliciting Verigy’s existing or potential customers, clients, or suppliers with whom
the defendants came into contact, or whose identities were learned, solely as a
result of his employment with Verigy;

(f) making knowingly false or misleading statements to Verigy’s existing or potential
clients, customers or suppliers orally, in print, by electronic mail, or on the STS
website about Verigy’s operations, capabilities, products and product plans; and

(g) making knowingly false or misleading statements to Verigy’s existing or potential
clients, customers or suppliers orally, in print, by electronic mail, or on the STS
website about operations, and the origins and capabilities of the STS products;

2; Defendants, their agents, employees, contractors, partners, representative, assigns
and all those acting in concert with Defendants, are required to preserve and immediately return to
Verigy all materials (in electronic, written, or other form) in any media (paper, hard drives, cashes,
CD-ROMS, diskettes, USB storage devices, or any other media, digital or otherwise), constituting,
containing or derived from Verigy’s Confidential Information (as defined in the ARCIPD, attached
hereto as Exhibit B), and all copies of such materials.

3: Following receipt of this order Defendants must immediately copy, and maintain

said copy without modification, the hard drives of all computers used by any defendant for the
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business of defendant Silicon Test Systems, Inc. and Silicon Test Solutions, LLC, for the purpose
of preserving evidence.

4, Verigy may depose Romi Omar Mayder and Wesley Mayder on five (5) days’
notice, which notice may be served forthwith.

5. Verigy may forthwith propound a narrowly tailored Request for Production,
Inspection, and Copying of Documents and Things and/or a set of Interrogatories not to include
more than 15 questions with no subparts to defendants and defendants shall respond to such
requests within seven (7) calendar days of service upon them.

6. This Temporary Restraining Order is entered on August 24, 2007 at 10:00 a.m. and
shall expire on September 7, 2007 at 5:00 p.m. unless prior to that date and time, the Order is
vacated or extended by this court for good cause shown, or unless plaintiff and defendants stipulate
to such extension or vacation, such stipulation being subject to the court’s approval.

Pursuant to Civil Local Rule 65-1 (c), DEFENDANTS ARE FURTHER HEREBY
ORDERED TO APPEAR AND SHOW CAUSE why a preliminary injunction should not be
entered against them with respect to the matters contained in this Temporary Restraining Order,
such Show Cause hearing to take place in this court on Friday, September 7, 2007, at 9:00 a.m.,
unless otherwise ordered by this court. In connection with such Show Cause hearing, plaintiff
shall serve a copy of this Temporary Restraining Order and all supporting papers on defendants by
5:00 p.m. on August 25, 2007. Defendants shall file, and serve by hand upon plaintiffs attorneys,
any opposition to the issuance of a preliminary injunction with respect to the matters contained in
the Temporary Restraining Order no later than 5:00 p.m. on August 31, 2007. Plaintiff shall file
and serve by hand upon defendants’ counsel, any reply and/or supplemental papers in support of
its motion for preliminary injunction by 5:00 p.m. on September 4, 2007.

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Pursuant to Rule 65(c) of the Federal Rules of Civil Procedure, this Temporary Restraining Order
shall be subject to, and is effective upon giving to the Clerk of this Court by plaintiff on or before
August 27, 2007 security in the form of a surety bond or undertaking or deposit according to law in
the amount of $100,000.

IT IS SO ORDERED.

Dated: August 24, 2007 By: /s/ Ronald M. Whyte
Honorable Ronald M. Whyte
United States District Judge

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CONFIDENTIAL—EXHIBIT SUBMITTED UNDER SEAL

EXHIBIT A
CONFIDENTIAL

Until a protective order is entered, information contained in this Exhibit A shall be treated
as though it was marked “CONFIDENTIAL.” pursuant to section 7.2 of the Northern District
court’s suggested Stipulated Protective Order. Upon entry of a protective order, the provisions of
that order shall apply.

Verigy’s Trade Secret Property, for the purpose of this Temporary Restraining Order only,
includes:

1. Inventions, designs, plans, know-how, research, techniques, proprietary or confidential
information, tools, processes, software, hardware, economics and/or research and
development relating to:

The projects code-named:

   
 
   

(a)

(b The projects code-named by Mayder as i:

() Non-public customer device requirements, pricing strategies, business
relationships with Verigy’s' customers and potential customers;

    

(d) Non-public information gathered or developed by Verigy concerning

(e) Verigy’s non-public product strategy;

(f) Verigy’s non-public forecasted business demand;

(g) Verigy’s non-public product architecture;

(h) Verigy’s non-public qualification processes and results;

(i) Verigy’s non-public contract manufacturer agreements and business
relationships;

(j) Verigy’s non-public block diagrams, specifications and engineering
drawings and diagrams; mechanical drawings; EECAD and MECAD
files;

(k) Verigy’s non-public future manufacturing strategies;

(1) Verigy’s non-public RFQs and associated documents;

(m) Verigy’s non-public processes and forms for gathering customer
information and requirements;

(n) Verigy’s non-public processes and forms for requesting information
and/or quotations from manufacturers and/or component suppliers;

(0) Verigy’s manufacturing requirements and timing;

(p) Verigy’s plans for future improvements to its products;

 

 

 

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CONFIDENTIAL—EXHIBIT SUBMITTED UNDER SEAL

Verigy’s non-public communications with component suppliers and
contract manufacturers;

Documents marked “Agilent Confidential” or “Verigy Confidential;”
Exhibits B and C to the Leventhal Declaration submitted in support of
Verigy’s Application for a TRO;

Exhibits A, B, C, and D to the Lai Declaration submitted in support of
Verigy’s Application for a TRO;

Exhibits A and B to the Lee Declaration submitted in support of
Verigy’s Application for a TRO; and

Exhibits A, B, C, D, E, and F to the Pochowski Declaration submitted in
support of Verigy’s Application for a TRO.

2. Inventions, designs, plans, know-how, research, techniques, proprietary or confidential
information, tools, processes, software, hardware, economics and/or research and
development relating to:

 

3. Inventions, designs, plans, know-how, research, techniques, proprietary or confidential
information, tools, processes, software, hardware, economics and/or research and

 

 

 

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CONFIDENTIAL—EXHIBIT SUBMITTED UNDER SEAL

development not contained in the published applications or patents relating to the
inventions described in the following patents:

(a)
(b)
(c)

Timing calibration and timing calibration verification of electronic circuit
testers (US Pat. 6570397 - Filed Aug 7, 2001)

Zero insertion force printed circuit assembly connector system and method
(US Pat. 7147499 - Filed Oct 19, 2005)

Parallel calibration system for a test device (US Pat. 7106081 - Filed Jul 8,
2004)

3. Inventions, designs, plans, know-how, research, techniques, proprietary or confidential

information, tools, processes, software, hardware, economics and/or research and development

not contained in the published applications relating to the inventions described in the following

patent applications:

(a)
(b)

(c)

(d)
(e)

(f)

Method and apparatus for a DUT contactor (Application #20070090849)
Method and apparatus for non-contact cleaning of electronics (Application
#20060236495)

Mock wafer, system calibrated using mock wafer, and method for
calibrating automated test equipment (Application #20060132162)

Parallel calibration system for a test device (Application #20060006896)
Timing calibration and timing calibration verification of electronic circuit
testers (Application #20030030453)

Resource Matrix, System, And Method for Operating Same (Application #
20070096757)

4. Inventions, designs, plans, know-how, research, techniques, proprietary or confidential

information, tools, processes, software, hardware, economics and/or research and development

relating to inventions described in the following disclosures made by Mayder while at Verigy:

 

 

 

 

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5. Inventions, designs, plans, know-how, research, techniques, proprietary or confidential
information, tools, processes, software, hardware, economics and/or research and
development relating to the

provisional patent applications, —_ om or patents claiming priority to

   
  
 

and any

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Varigy US, Inc. ~ |
Agreoment Regarding Confidential Information and
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United States District Court
For the Northern District of California

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Notice of this document has been electronically sent to:
Counsel for Plaintiff:

Melinda Morton mmorton@be-law.com
Counsel for Defendants:

(No Appearance)

Counsel are responsible for distributing copies of this document to co-counsel that have not registered
e-filing under the court's CM/ECF program.

Dated: 5{ 24 | ot mM AG

Chambers of Judge Whyte

 
